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                                                               United States Bankruptcy Court
                                                                     Middle District of Florida
 In re      Waldron Produce Farms Inc.                                                                   Case No.
                                                                                  Debtor(s)              Chapter    12




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Waldron Produce Farms Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 25, 2019                                                    /s/ Richard A. Perry
 Date                                                                Richard A. Perry 394520
                                                                     Signature of Attorney or Litigant
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